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19
                             UNITED STATES DISTRICT COURT
20
                    EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION
21
     IN RE TACO BELL WAGE AND                  Case No. 1:07-cv-01314-SAB
22   HOUR ACTIONS
                                               Hon. Stanley A. Boone
23
                                               JOINT STIPULATION OF
24                                             SATISFACTION OF JUDGMENT AS
                                               TO THE SECOND AMENDED
25                                             JUDGMENT WITH RESPECT TO THE
                                               UNDERPAID MEAL PERIOD CLASS
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                                                                       SATISFACTION OF JUDGMENT
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2             This action came before the Court for a trial by jury. The issues have been tried
3    and the jury has rendered its verdict.
4             1.        Judgment was entered in favor of Plaintiffs, and against Defendants, for the
5    Underpaid Meal Premium Class.
6             2.        Judgment is entered in favor of Defendants, and against Plaintiffs, for the
7    Late Meal Period and Rest Period Classes.
8             3.        Judgment is entered in favor of Plaintiffs, and against Defendants, for the
9    Underpaid Meal Premium Class on the California Unfair Competition Law claim.
10            4.        Judgment is entered in favor of Defendants, and against Plaintiffs, for the
11   Late Meal Period and Rest Period Classes on the California Unfair Competition Law
12   claims.
13            5.        Per the Second Amended Judgment, damages in the amount of $495,913.66,
14   and prejudgment interest in the amount of $291,987.70, are awarded to the Underpaid
15   Meal Premium Class. The sum of these awards, $787,901.36 is referred to as the
16   “Underpaid Meal Premium Class Award.” Each member of the Underpaid Meal
17   Premium Class has been paid a share of the Underpaid Meal Premium Class Award
18   according to the methodology set forth in Exhibit A to the Second Amended Judgment.
19            6.        Per the Second Amended Judgment, Plaintiffs were awarded attorneys’ fees
20   in the amount of $1,156,852.12.
21            7.        Per the Second Amended Judgment Plaintiffs are awarded $93,793.30 in
22   costs.
23            8.        The Parties agree that the Second Amended Judgment as been satisfied as to
24   Plaintiffs, Class Counsel, Stuart Chandler, and the Underpaid Meal Period Class as
25   identified in Exhibit A to the Second Amended Judgment.
26            AS SUCH THE SECOND AMENDED JUDGMENT AS BEEN SATISFIED
27            IN ITS ENTIRETY.
28

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                                                                                SATISFACTION OF JUDGMENT
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1            IT IS SO STIPULATED.
2

3    Dated: September 7, 2017
4
                                 CAPSTONE LAW APC
5

6
                                 By                 /s/ Matthew Theriault
7
                                                MATTHEW THERIAULT
8                                        Attorneys for Plaintiffs and Class Members
9
     Dated: September 7, 2017
10

11                               SHEPPARD, MULLIN, RICHTER & HAMPTON
                                  LLP
12
13

14                               By                 /s/ Tracey A. Kennedy
                                                  TRACEY A. KENNEDY
15                                                 MORGAN P. FORSEY
16                                                    NORA K. STILES
                                        Attorneys for Defendants Taco Bell Corp. and
17                                                 Taco Bell America, Inc.
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                                                                 SATISFACTION OF JUDGMENT
